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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT,                       )
LLC,                                       )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )    Case No.: 5:18-cv-1983-LCB
                                           )
TENNESSEE VALLEY                           )
AUTHORITY,                                 )
                                           )
       Defendant.                          )

                              FINAL JUDGMENT

      In accordance with Rule 58 of the Federal Rules of Civil Procedure and the

findings of fact and conclusions of law filed contemporaneously in this action, the

Court enters this final judgment. It is hereby ORDERED:

      (1)   Judgment is entered in favor of the Tennessee Valley Authority on

            Counts One, Two, and Three of the Amended Complaint.

      (2)   In accordance with Section 11(b) of the Bellefonte Nuclear Plant Site

            Purchase and Sales Agreement, judgment is entered in favor of Nuclear

            Development in the amount of $22,950,000, plus prejudgment interest

            at a rate of 7.5% per annum, running from December 30, 2018 to the

            date of this final judgment.

      (3)   This action is dismissed with prejudice.
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(4)   This is a final and appealable judgment

DONE and ORDERED August 26, 2021.



                          _________________________________
                          LILES C. BURKE
                          UNITED STATES DISTRICT JUDGE
